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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION


UNITED STATES OF AMERICA,
THE STATE OF FLORIDA,
EX REL. JOHN DOE,

                           Plaintiffs,

                                                                                Case No.:
vs.                                                                             6:14cv501-ORL-37DAB

HEALTH FIRST, INC., HEALTH FIRST                                                DISPOSITIVE MOTION
HEALTH PLANS, INC., HEALTH FIRST
MEDICAL GROUP, MELBOURNE INTERNAL
MEDICAL ASSOCIATES, P.A., HOLMES REGIONAL
MEDICAL CENTER, PALM BAY HOSPITAL,
CAPE CANAVERAL HOSPITAL, AND
VIERA HOSPITAL,


                  Defendants.
________________________________________________/


                 DEFENDANTS’ JOINT MOTION TO DISMISS COMPLAINT
                     and INCORPORATED MEMORANDUM OF LAW

         Defendants, Health First, Inc., Health First Health Plans, Inc., Health First Medical Group,

Holmes Regional Medical Center, Palm Bay Hospital, Cape Canaveral Hospital, Viera Hospital

and Melbourne Internal Medical Associates, P.A. (collectively the “Defendants”),1 pursuant to

Federal Rules of Civil Procedure 12(b)(1), 12(b)(6) and 9(b) and Local Rule 3.01, hereby jointly

move to dismiss all claims against the Defendants asserted by Relator (Doc. No. 1).2 In support,


1
  The Defendants include all named defendants. Health First, Inc. will be referred to as “Health First,” Health First
Health Plan, Inc. will be referred to as “HFHP,” Holmes Regional Medical Center will be referred to as “HRMC,”
and Melbourne Internal Medical Associates, P.A. will be referred to as “MIMA.” MIMA is represented by separate
counsel who joins in this consolidated Motion to Dismiss and Incorporated Memorandum of Law.
2
  Relator filed this qui tam action as a “John Doe” relator under seal on March 27, 2014, after which both the United
States and the State of Florida declined to intervene. Relator’s counsel has confirmed that Dr. Craig Deligdish is the
Relator in this case. (Doc. Nos. 21 and 31.) Dr. Deligdish has also sued Health First and related entities in a separate
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the Defendants state as follows:

I.       INTRODUCTION

         In shotgun fashion, this qui tam Complaint alleges violations of the federal False Claims

Act (the “FCA”) and its Florida counterpart3 predicated on more than two dozen disparate

activities, dating from 1999 to early 2013, that were purportedly unlawful under a variety of

statutes and regulations. Six counts incorporating all of these allegations are asserted against the

eight “Defendants” collectively, without any effort to distinguish which “false claims” were

submitted when and by which Defendants in violation of which laws. Nor does the Complaint

provide sufficient support to explain how the Relator, who has never been employed by any of the

Defendants, can reliably support allegations about the variety of false claims based on numerous

activities by numerous entities over a period of 14 years. Nonetheless, the Relator alleges that

more than $100 million annually in false claims to the government were made by “Defendants”

between 1999 and February 2013.

         Dismissal of the Complaint is required for numerous reasons. First, many of the claims

are barred by the FCA’s six-year statute of limitations. Second, because many of the claims are

based on information that has already been publicly disclosed by other sources, much of the

Complaint is due to be dismissed under the FCA’s public disclosure bar pursuant to Rule 12(b)(1)

or 12(b)(6). Third, pursuant to Rule 9(b), Relator’s allegations fail to meet this Circuit’s well-

settled standards for alleging with particularity the “who,” “what,” “when,” and “where” of

purportedly false claims and of the underlying circumstances which allegedly rendered them false.



action before this Court. See OMNI Healthcare, Inc., Craig Deligdish, et al. v. Health First, et al., Case No. 6:13-cv-
1509-ORL-37DAB.
3
  31 U.S.C. § 3729 et seq., and § 68.081, Fla. Stat., et seq. The Florida FCA is generally interpreted under the same
standards as the federal FCA. See United States v. All Children’s Health Sys., Inc., No. 8:11–cv–1687–T–27EAJ,
2013 WL 1651811, at *2 (M.D. Fla. Apr. 16, 2013). The laws will be referred to as the “federal FCA” or “Florida
FCA” to the extent that any distinctions between them are material.


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Finally, Relator also fails under Rule 12(b)(6) to state a claim on which relief can be granted

because there are no adequate allegations of specific claims, much less allegations of specific false

claims presented to the government. The Relator’s failure to state a claim under Rule 12(b)(6)

also includes his failure to allege sufficient facts to state a claim for violation of the federal Anti-

Kickback Statute, 42 U.S.C. § 1320a-7b (“AKS”), the federal Stark Act, 42 U.S.C. § 1395nn, or

any other law underlying the purportedly “false” certifications accompanying any “false claims.”

For all of these reasons, the Complaint must be dismissed in its entirety.

II.    LEGAL STANDARDS

       “To survive a Rule 12(b)(6) motion to dismiss, a plaintiff must plead sufficient facts to

state a claim that is ‘plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678, 129 S. Ct. 1937,

173 L.Ed.2d 868 (2009) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct.

1955, 167 L.Ed.2d 929 (2007)). In addition, claims asserted under the FCA are subject to the

stricter pleading standards of Federal Rule of Civil Procedure 9(b). United States ex rel. Clausen

v. Lab. Corp. of Am., Inc., 290 F.3d 1301, 1308–09 (11th Cir. 2002). An FCA complaint “satisfies

Rule 9(b) if it sets forth facts as to time, place, and substance of the defendant’s alleged fraud,

specifically the details of the defendants’ allegedly fraudulent acts, when they occurred, and who

engaged in them.” Hopper v. Solvay Pharm., Inc., 588 F.3d 1318, 1324 (11th Cir. 2009) (quotation

omitted) (emphasis added).

       In addition, “[c]ourts may take judicial notice of publicly filed documents, such as those in

state court litigation, at the Rule 12(b)(6) stage” to assess the applicability of the FCA’s public

disclosure bar. United States ex rel. Osheroff v. Humana Inc., 776 F.3d 805, 811-12 & n.4 (11th

Cir. 2015). This is also true for jurisdictional challenges under Rule 12(b)(1). See Makro Capital




                                                   3
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of Am., Inc. v. UBS AG, 543 F.3d 1254, 1258 (11th Cir. 2008) (allowing use of extrinsic evidence

to assess evidence under Rule 12(b)(1) challenge).

III.   ARGUMENT

       A.       The FCA’s Six-Year Statute of Limitations Bars Much of the Complaint.

       Under both the federal and Florida FCA, the statute of limitations runs for six years after

the date on which a violation is committed. 31 U.S.C. § 3731(b); § 68.089, Fla. Stat. A person

commits an FCA violation, for example, when that person submits a false or fraudulent claim for

payment to the government, at which point the statute of limitations would commence. United

States v. Entin, 750 F. Supp. 512, 517 (S.D. Fla. 1990) (citing Smith v. United States, 287 F.2d

299, 304 (5th Cir. 1961)); 31 U.S.C. § 3729(a)(1)(A).

       On March 27, 2014, Relator filed the qui tam Complaint. (Doc. No. 1.) Accordingly, the

FCA’s statute of limitations precludes recovery based on any claims for payment submitted to the

government by the Defendants prior to March 27, 2008. Moreover, as the Complaint itself makes

clear, much of the alleged wrongful conduct predates March 27, 2008. For example:

               Complaint § A.1.a (¶¶ 49-58) references dates entirely prior to March 27, 2008.

               Complaint § A.1.b (¶ 59) references dates going back to 2000.

               Complaint § A.2 (¶¶ 62-67) references dates going back to 2002.

               Complaint § A.4 (¶¶ 74-75) references dates entirely prior to March 27, 2008.

               Complaint § A.5 (¶¶ 76-78) references dates entirely prior to March 27, 2008.

               Complaint § A.6 (¶¶ 79-81) references dates going back to 2000.

               Complaint § A.7 (¶¶ 82-85) references a date of “approximately 2010,” but

                subsequent more specific allegations in the Complaint (¶¶ 116, 119, 125) make




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                 clear that the practice at issue ceased on “January 1, 2008,” and is therefore entirely

                 prior to March 27, 2008.

                Complaint § A.8 (¶¶ 86-89) references dates going back to 2004.

                Complaint § B (¶¶ 97-98) references a contract entered before November 30, 2007.4

                Complaint § C.1 (¶¶ 99-101) references dates going back to 1999 and a letter from

                 2006.

                Complaint § C.2 (¶ 102) provides no dates, but describes the same conduct from §

                 A.1.a (¶¶ 49-58), which referenced dates prior to March 27, 2008.

                Complaint § C.3 (¶ 103) provides no dates, but describes the same conduct from §

                 A.2 (¶¶ 62-67), which referenced dates going back to 2002.

                Complaint § C.4 (¶ 104) provides no dates, but describes the same conduct from §

                 A.2 (¶¶ 62-67), which referenced dates going back to 2002.

                Complaint § D.1 (¶¶ 105-111) references dates going back to 2001.

                Complaint § D.2 (¶¶ 112-115) provides no dates other than 1999.

                Complaint § E (¶¶ 126-127) references dates going back to 2003.

Without more specificity as to dates, these claims should be deemed to be time-barred.

        As noted above, many of the allegations are not dated at all and others reference a specific

date outside the statute of limitations as part of an allegedly continuing practice. But even if these

allegations are deemed to span the entirety of Relator’s fourteen-year timeframe (1999-2013),

every cause of action based upon them must be greatly truncated by the statute of limitations.

Relator should be required to specify the who, what and when of each false claim he alleges was



4
  The Complaint’s quotation of the subject contract makes clear that it was entered before November 30, 2007 by
stating that “[a]ssuming that Health First completes 70% of the 160,000 Phase I square footage by November 30,
2007….”


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submitted by Defendants. United States ex rel. Joshi, 441 F.3d 552, 558 (8th Cir. 2006) (affirming

dismissal where “the specific instances of fraud cited by Dr. Joshi all occurred in November 1995

and Dr. Joshi failed to tie the allegations into a continuous pattern of conduct by [defendants], the

six-year statute of limitations barred the additional claims”); Sanderson v. HCA-The Healthcare

Co., 447 F.3d 873, 875, 878 (6th Cir. 2005) (affirming dismissal of claims where there was no

sufficient allegation of conduct within the limitations period).

       B.      The FCA’s “Public Disclosure” Bar Applies to Much of the Complaint.

       “The purpose of the FCA is to encourage private citizens to expose fraud against the

government, while preventing opportunistic suits by individuals who hear of fraud through public

sources but played no part in exposing it.” Klusmeier v. Bell Constructors, Inc., 469 Fed. App’x

718, 720 (11th Cir. 2012). Therefore, the FCA laws incorporate “public disclosure” bars which

prevent relators from profiting from instituting qui tam actions on the basis of information already

in the public unless the relator was the “original source” of such information.

               1.       Amendments to the federal and Florida FCA provide for different
                        applications of the “public disclosure bar” to different periods of the
                        Relator’s allegations between 1999 to 2013.

       In 2010, Congress passed the Patient Protection and Affordable Care Act (“PPACA”), Pub.

L. No. 111–148, 124 Stat. 119 (2010), which amended the FCA’s public disclosure bar, effective

March 23, 2010. United States ex rel. Osheroff v. Humana Inc., 776 F.3d 805, 809 (11th Cir.

2015). Before this amendment, the FCA’s public disclosure bar “provided that ‘no court shall

have jurisdiction’ over an action based on publicly disclosed allegations or transactions.” Id. at

810 (quoting 31 U.S.C. § 3730(e)(4) (2006)). “The PPACA amended this section, which now

provides that a ‘court shall dismiss an action or claim under this section, unless opposed by the

Government, if substantially the same allegations or transactions as alleged in the action or claim




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were publicly disclosed’ in certain enumerated sources.” Id. (quoting 31 U.S.C. § 3730(e)(4)

(2012)). Based on the plain language of these versions, motions to dismiss based on the prior

version of § 3730(e)(4) are jurisdictional in nature and are considered under Federal Rule of Civil

Procedure 12(b)(1), whereas motions to dismiss based on the amended version of § 3730(e)(4) are

considered under Rule 12(b)(6) for failure to state a claim. Osheroff, 776 F.3d at 810-11.

Analogous revisions to the Florida FCA became effective on July 1, 2013. See Ch. 2013-104,

Laws of Fla (amending the Florida FCA); § 68.087(3), Fla. Stat.5

                  2.       Both versions of the federal “public disclosure bar,” and only the
                           prior version of Florida’s “public disclosure bar,” apply to Relator.

         The Supreme Court has determined that the amended version of § 3730(e)(4) cannot be

applied retroactively, because its application eliminates one or more defenses available in a qui

tam suit. Graham Cnty. Soil & Water Conservation Dist. v. United States ex rel. Wilson, 559 U.S.

280, 283 n.1, 130 S. Ct. 1396, 176 L.Ed.2d 225 (2010). Thus, even though Relator filed this action

in 2014, the prior version of the public disclosure bar – and its requirement of dismissal based on

lack of jurisdiction – apply to all alleged conduct prior to March 23, 2010. See Osheroff, 776 F.3d

at 811 (applying the Rule 12(b)(1) jurisdictional analysis to conduct alleged to have occurred prior

to March 23, 2010, but the Rule 12(b)(6) standard to claims based on alleged conduct that occurred

on or after March 23, 2010). District courts throughout the country have applied the previous

version of § 3730(e)(4) to conduct occurring prior to March 23, 2010, and the amended version to



5
  Prior to the amendment that became effective on July 1, 2013, the Florida FCA’s “public disclosure bar” (§ 68.087,
Fla. Stat. (2003)) provided that “[n]o court shall have jurisdiction over an action brought under this act based upon the
public disclosure of allegations or transactions in a criminal, civil, or administrative hearing; in a legislative,
administrative, inspector general, or Auditor General, Chief Financial Officer, or Department of Financial Services
report, hearing, audit, or investigation; or from the news media, unless the action is brought by the department, or
unless the person bringing the action is an original source of the information. For purposes of this subsection, the term
‘original source’ means an individual who has direct and independent knowledge of the information on which the
allegations are based and has voluntarily provided the information to the department before filing an action under this
act based on the information.”


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conduct thereafter, even though the lawsuit may have been filed after the effective date of the

amendments.6

         The relevant conduct for determining which FCA version applies is the submission of a

false claim to the government, not the public disclosure of such fraudulent activity. See United

States ex rel. Osheroff v. Humana, Inc., No. 10–24486–cv–SCOLA, 2012 WL 4479072, at *4 n.8

(S.D. Fla. Sept. 28, 2012) (“[T]he previous version of the statute will apply to any alleged false

claims made before March 23, 2010, and the amended version to any false claims made

thereafter.”), aff’d, 776 F.3d 805 (11th Cir. 2015).7

         Because Relator’s Complaint alleges false claims spanning from 1999 until February 2013,

both versions of the Federal FCA’s “public disclosure bar” apply to different portions of the

Complaint, with March 23, 2010 as the dividing line. Accordingly, Defendants move to dismiss

Counts under the federal FCA under Rule 12(b)(1) for all conduct subject to the prior version’s

jurisdictional bar, and under Rule 12(b)(6) for all conduct subject to the latter version’s non-

jurisdictional dismissal standard.

         With respect to the Florida FCA, all of the Relator’s claims allegations involve conduct

prior to the amendment of the Florida FCA’s public disclosure bar (which became effective July




6
  See, e.g., Calisesi ex rel. United States v. Hot Chalk, Inc., No. CV–13–01150–PHX–NVW, 2015 WL 1966463, at
*10 n.5 (D. Ariz. May 1, 2015); United States ex rel. Bogina v. Medline Indus., Inc., No. 1:11–cv–05373, 2015 WL
1396190, at *2 (N.D. Ill. Mar. 24, 2015); United States ex rel. John v. Hastert, No. 1:13–cv–05014, 2015 WL 1006852,
at *9 (N.D. Ill. Mar. 4, 2015); United States ex rel. McGee v. IBM Corp., No. 1:11–cv–03482, 2015 WL 877458, at
*7 (N.D. Ill. Feb. 26, 2015); U.S. ex rel. Griffith v. Conn, No. 11–157–ART, 2015 WL 779047, at *3 & n.1 (E.D. Ky.
Feb. 24, 2015); United States ex rel. Cause of Action v. Chi. Transit Auth., No. 12 CV 9673, --- F. Supp. 3d ----, 2014
WL 5333399, at *2 n.2 (N.D. Ill. Oct. 20, 2014); United States ex rel. Moore & Co., P.A. v. Majestic Blue Fisheries,
LLC, 69 F.Supp.3d 416, 2014 WL 4954296, at *5 (D. Del. Sept. 23, 2014).
7
  See also United States v. Bd. of Educ. of City of Chi., No. 1:12–cv–00622, 2015 WL 1911102, at *7 (N.D. Ill. Apr.
27, 2015) (same); United States ex rel. Cantekin v. University of Pittsburgh, 192 F.3d 402, 409-11 (3d Cir. 1999)
(concluding that the relevant conduct for retroactive application of the FCA’s 1986 amendment is the claim submission
date, not the disclosure date); Makro Capital of Am., Inc. v. UBS AG, 436 F. Supp. 2d 1342, 1346-47 (S.D. Fla. 2006)
(the making of the false claim, not the date of disclosure, is the relevant event for purposes of the 1986 FCA
amendment’s retroactivity analysis).


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1, 2013), and therefore Defendants move to dismiss the claims subject to the Florida FCA’s “public

disclosure bar” under Rule 12(b)(1).

               3.      Relator’s claims are substantially barred by the public disclosure
                       provisions.

       There is a three-part test for deciding if the FCA’s public disclosure provisions bar a qui

tam lawsuit. Osheroff, 776 F.3d at 812 (citing Cooper v. Blue Cross Blue Shield of Fla., Inc., 19

F.3d 562, 565 n. 4 (11th Cir. 1994)). The first step is to determine whether the allegations made

by a relator have been publicly disclosed. Id. The second step depends on which version of

§ 3730(e)(4) applies. If the prior version applies, the Court asks whether the qui tam lawsuit is

“based upon” the publicly disclosed information. Id. (quoting 31 U.S.C. § 3730(e)(4) (2006)). If

the amended version of § 3730 applies, the Court asks whether the allegations in the qui tam

lawsuit are “substantially the same” as the publicly disclosed information. Id. (quoting 31 U.S.C.

§ 3730(e)(4) (2012)). Once these questions are answered affirmatively, the Court proceeds to the

third step and asks if the relator is an “original source” of the information contained in the qui tam

complaint. Id.; see also Cooper, 19 F.3d at 565 (“A court reaches the original source question

only if it finds the plaintiff's suit is based on information publically disclosed.”). A qui tam lawsuit

is prohibited unless the relator is an “original source.” Osheroff, 776 F.3d at 812.

                       a)      Many of the Relator’s allegations have been previously
                               publicly disclosed.

       The federal FCA enumerates certain categories of sources that are considered public.

Osheroff, 776 F.3d at 812. “Before the 2010 amendments to the FCA, information disclosed in

both federal and state court proceedings was considered publicly disclosed.” Id. (citing Graham

Cnty., 559 U.S. at 283). “After the 2010 amendments, only information disclosed in federal court

proceedings may be considered public disclosures.” Id. (citing 31 U.S.C. § 3730(e)(4)(A)(i)




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 (2012)); see also United States ex rel. May v. Purdue Pharma L.P., 737 F.3d 908, 917 (4th Cir.

 2013). With respect to the Florida FCA, the prior version of which applies to all claims here,

 public disclosures include “allegations or transactions in a criminal, civil, or administrative

 hearing; in a legislative, administrative, inspector general, or Auditor General, Chief Financial

 Officer, or Department of Financial Services report, hearing, audit, or investigation; or from the

 news media.” § 68.087, Fla. Stat. (2003).8

          Defendants attach hereto two prior state court complaints and a prior federal court

 complaint against Health First entities, the pertinent allegations of which are summarized in the

 Appendix attached as Exhibit A, to demonstrate that many of the allegations in Relator’s qui tam

 Complaint have been previously disclosed to the public by another source. The prior complaints

 themselves are attached as Exhibits B, C and D. The state court complaints are captioned

 Wuesthoff Health Systems, Inc. v. Health First, Inc., et al., Case No. 05-2007-CA-019391 (Fla.

 Cir. Ct.) (the “Wuesthoff Complaint”), filed on November 2, 2007 (Exhibit B), and Hynes, et al.

 v. Health First, et al., Case No. 05-2007-CA-19182 (Fla. Cir. Ct.) (the “Hynes Complaint”), filed

 on August 12, 2009 (Exhibit C).9 The federal court complaint is captioned Wuesthoff Health

 System, Inc. v. Health First, Inc., et al., Case No. 6:05-cv-01454-Orl-22JGG (M.D. Fla.) (the

 “Federal Complaint”), filed on September 29, 2005 (Exhibit D).10 A comparison of public

 disclosures in the prior actions of allegations in this case are as follows:

          Relator’s qui tam Complaint alleges that

 8
   The Florida FCA’s public disclosure bar was amended slightly in 2003 to substitute “Chief Financial Officer” for
 “Comptroller” and “Financial Services” for “Banking and Finance,” but those changes are not material to this analysis.
 9
   Although the Hynes Complaint is labeled as “Highly Confidential,” the state court lifted that designation by order
 of October 19, 2009, at which time the Hynes Complaint became a public record. (Ex. E at 2, ¶ 3.) After substantial
 further proceedings including a related lengthy evidentiary hearing that covered over five days of testimony, the state
 court denied leave for Dr. Hynes to proceed under the amended version of his claims proposed in that complaint.
 10
    The Court may take judicial notice of these complaints and properly consider them for purposes of this motion to
 dismiss. See Osheroff, 776 F.3d at 811-12 & n.4 (“Courts may take judicial notice of publicly filed documents, such
 as those in state court litigation, at the Rule 12(b)(6) stage”); Makro Capital of Am., Inc. 543 F.3d at 1258 (allowing
 use of extrinsic evidence to assess evidence under Rule 12(b)(1) challenge).


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            MIMA physicians were given opportunities to invest in new healthcare facilities,
             particularly the Melbourne Same Day Surgery Center and the Melbourne Gastro-
             Intestinal (GI) Center, in exchange for their loyal referrals to the Health First
             Defendants. (Compl. ¶¶ 3, 49-67, 99-104.)

                    These same allegations were made in the Hynes Complaint at ¶¶ 13, 108,
                    116-17, 153, and the Wuesthoff Complaint at ¶¶ 53, 60, 114.

            HFHP requires its plan participants to utilize Health First-related facilities, such
             as the Same Day Surgery Center and the GI Center, for outpatient services
             available at those facilities. (Compl. ¶¶ 56-58, 65, 100-01.)

                    This same allegation is made in the Hynes Complaint at ¶ 108. Further,
                    similar allegations that HFHP only contracts with loyal medical providers
                    appear in the Hynes Complaint at ¶¶ 13, 103, and the Wuesthoff
                    Complaint at ¶ 53.

            Health First has appointed MIMA physicians as medical directors of certain
             Health First facilities in exchange for exclusive referrals from these physicians.
             (Compl. ¶¶ 3, 59, 69, 89.)

                    This same allegation was made in the Hynes Complaint at ¶¶ 108, 153,
                    and the Wuesthoff Complaint at ¶¶ 60, 114-15.

            Health First gained control of the geographic area surrounding Viera Medical
             Park through restrictive covenants. (Compl. ¶¶ 97-98.)

                    This allegation was similarly made in the Hynes Complaint at ¶ 100 and
                    the Federal Complaint at ¶ 67.

            HRMC closed its radiation therapy facility and sold its equipment and released its
             personnel to MIMA. (Compl. ¶ 77-78.)

                    This same allegation was made in the Wuesthoff Complaint at ¶ 60.

            In exchange for their beneficial treatment, MIMA physicians were nearly 100%
             loyal to Health First. (Compl. ¶ 48.)

                    This same allegation was made in the Hynes Complaint at ¶¶ 109, 154, the
                    Wuesthoff Complaint at ¶¶ 61, 115, 116, 154, 155, and the Federal
                    Complaint at ¶¶ 71, 103.

            HRMC did not pay Dr. Grenevicki for his on-call services, despite paying other
             physicians for the same on-call services. (Compl. ¶ 88.)



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                            This same allegation was made in the Hynes Complaint at ¶¶13, 120.

                  MIMA physicians dropped their contracts with health insurance providers other
                   than HFHP, in order to ensure MIMA’s exclusive referrals to Health First
                   hospitals. (Compl. ¶ 96).

                            This same allegation was made with regards to MIMA’s termination of its
                            contract with Aetna, as alleged in the Hynes Complaint at ¶ 155-56, the
                            Wuesthoff Complaint at ¶¶ 116, 117, and the Federal Complaint at ¶ 72.

                  Health First purchased MIMA at a price that significantly exceeded fair market
                   value, in order to ensure exclusive referrals to Health First facilities. (Compl. ¶¶
                   90-91).

                            This same allegation was made with regards to Health First’s acquisition
                            of other physician practices, as alleged in the Hynes Complaint at ¶ 106,
                            the Wuesthoff Complaint at ¶ 58, and the Federal Complaint at ¶ 69.

          Because the Hynes and Wuesthoff state court complaints were filed prior to the 2010

 federal FCA amendment, the alleged conduct revealed by them is considered to have been publicly

 disclosed pursuant to the prior version of the federal FCA. For this reason, the alleged conduct

 falls into the pre-2010 prohibition of any action based upon such disclosures, unless the Relator is

 an original source of such disclosures as defined by that pre-2010 version of the statute.11 See 31

 U.S.C. § 3730(e)(4) (2006). Furthermore, the Federal Complaint constitutes a public disclosure

 of the alleged conduct therein to preclude a qui tam action based on post-2010 conduct as well.

 Because only the pre-2013 version of the Florida FCA applies, the alleged conduct revealed by all

 three complaints is considered public disclosures barring jurisdiction under the Florida FCA. By

 offering the public disclosures in these former complaints with such identical allegations, the




 11
    Under the prior version of § 3730, the plaintiff's knowledge must have been “direct and independent” for the plaintiff
 to qualify as an original source. 31 U.S.C. § 3730(e)(4)(B) (2006). Under the amended statute, an original source is
 someone who has “knowledge that is independent of and materially adds to the publicly disclosed allegations or
 transactions.” 31 U.S.C. § 3730(e)(4)(B) (2012); Osheroff, 776 F.3d at 814-15. Analogous changes were made to the
 Florida FCA, which became effective on July 1, 2013.


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 Defendants satisfy the first step of the inquiry, which is to show that the allegations made by the

 Relator have already been publicly disclosed. Osheroff, 776 F.3d at 812.

                            b)        Numerous allegations by Relator are based on or similar to
                                      those public disclosures.

          The second step of the inquiry assesses the relationship between the publicly disclosed

 information and the present qui tam Complaint. Under the previous version of § 3730(e)(4), this

 step is satisfied if a relator bases “an FCA qui tam claim in any part on publicly disclosed

 information.” Osheroff, 776 F.3d at 814 (emphasis in original) (quoting Battle v. Bd. of Regents,

 468 F.3d 755, 762 (11th Cir. 2006)). Under the amended version, the Court must analyze whether

 the Complaint’s allegations are “substantially the same” as the publicly disclosed information. Id.

 (quoting 31 U.S.C. § 3730(e)(4) (2012)). In practice, the courts look to whether the allegations

 are “substantially similar,” id. at 814,12 but importantly, the allegations of the qui tam complaint

 need not exactly match the public disclosure to be barred. United States ex rel. Gear v. Emergency

 Med. Assocs. of Ill., 436 F.3d 726, 729 (7th Cir. 2006) (citing GAO reports and medical news

 reports about improper Medicare billing as examples of public disclosures, even when they did not

 name the FCA defendant); United States ex rel. Gilligan v. Medtronic, Inc., 403 F.3d 386, 389 (6th

 Cir. 2005) (“[W]e do not require specific disclosure of fraud to find public disclosure.”).

 Importantly, the second step is merely “a quick trigger to get to the more exacting original source



 12
    This is consistent with the prior version of the FCA. For a qui tam suit to be “based upon” a prior public disclosure,
 under the prior version, the publicly disclosed facts need only be substantially similar to the Relator’s current
 allegations. See, e.g., United States ex rel. Barber v. Paychex, Inc., No. 09–20990–Civ, 2010 WL 2836333, at *8
 (S.D. Fla. July 15, 2010) (“Relators also do not deny that their Complaint is ‘based upon’ these public disclosures,
 within the meaning of the FCA. See Cooper, 19 F.3d at 567–68 (a relator's allegations are deemed to be ‘based upon’
 a ‘public disclosure’—and, thus, jurisdictionally barred—so long as they are ‘supported by’ the information publicly-
 disclosed).”); see also United States ex rel. Ondis v. City of Woonsocket, 587 F.3d 49, 57 (1st Cir. 2009) (“The majority
 view holds that as long as the relator’s allegations are substantially similar to information disclosed publicly, the
 relator's claim is ‘based upon’ the public disclosure even if he actually obtained his information from a different
 source.”) (citing Cooper, 19 F.3d at 567)).




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 inquiry.” Id. (quoting Cooper, 19 F.3d at 568 n.10).

         The qui tam Complaint here is plainly based, at least in part, on the publicly disclosed

 information discussed above. The allegations in the Complaint are also substantially similar to the

 publicly disclosed information. Considering that the second step is merely a “quick trigger,” the

 significant overlap between Relator’s allegations above and those made within the previously filed

 actions against Health First is sufficient to satisfy the second step, and these claims in Relator’s

 Complaint must be dismissed for both lack of subject matter jurisdiction and failure to state a claim

 under the FCA, unless Relator can show that he is an “original source” of the publicly disclosed

 information.

                        c)      The Relator is not an original source of those allegations.

         Under the prior version of § 3730, a relator’s knowledge must have been “direct and

 independent” for the relator to qualify as an original source. Osheroff, 776 F.3d at 814-15 (citing

 31 U.S.C. § 3730(e)(4)(B) (2006)). “Under the amended statute, an original source is someone

 who has ‘knowledge that is independent of and materially adds to the publicly disclosed allegations

 or transactions.’” Id. at 815 (quoting 31 U.S.C. § 3730(e)(4)(B) (2012)). Notably, “background

 information that helps one understand or contextualize a public disclosure is insufficient to grant

 original source status” under the prior version. Id. (citing McElmurray v. Consol. Gov’t of

 Augusta-Richmond Cnty., 501 F.3d 1244, 1253-54 (11th Cir. 2007); Cooper, 19 F.3d at 568).

 Similarly, under the amended statute, a qui tam relator’s information does not materially add to

 the public disclosures if those disclosures were already sufficient to give rise to an inference of

 illegality. Id.

         Here, Relator has failed to provide the Court with any specific facts showing that he had

 direct and independent knowledge of the publicly disclosed information on which he bases his




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 FCA claims, or even that he was in a position to obtain such direct and independent knowledge.13

 Relator states only that his allegations are based upon information he discovered through his work

 and through his own personal efforts, observations, and investigation. (Compl. ¶ 17.) This

 conclusory allegation is insufficient to show that Relator is an original source. See Battle v. Bd. of

 Regents for Ga., 468 F.3d 755, 762-63 (11th Cir. 2006) (the relator failed to provide facts to the

 district court that might establish herself as an original source of the information); United States

 ex rel. Brown v. Walt Disney World Co., 361 F. App’x 66, 68 (11th Cir. 2010) (“Plaintiff provided

 nothing, other than her own conclusory allegation, to show that she was an original source of the

 information on which her complaint was based.”); Osheroff, 776 F.3d at 815 (“At most, [Relator’s]

 complaint adds background information and details relating to the value of the services offered,

 making it somewhat more plain that the clinics’ programs could violate the AKS. However,

 background information that helps one understand or contextualize a public disclosure is

 insufficient to grant original source status under the previous version of the statute.”).

          Furthermore, Relator’s allegations do not materially add to the publicly disclosed

 allegations, which already made the same allegations of illegality that Relator attempts to show

 here or disclosed facts from which such inferences could be made. Osheroff, 776 F.3d at 814-815.

 Accordingly, the allegations in Relator’s qui tam action which were publicly disclosed cannot be

 saved by the original source exception.




 13
    The only publicly disclosed information for which Relator offers a fact to show his direct and independent
 knowledge relates to the opportunity to invest in the Melbourne GI Center. (Compl. ¶ 64.) Even if Relator’s phone
 call to Jerry Senne requesting an opportunity to invest in the GI Center – a request for which Relator was “rebuffed”
 – makes Relator an “original source” as to that allegation, there are no other facts alleged indicating an independent
 and direct connection between Relator and the other information disclosed by the public allegations.


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        C.      The Complaint Fails to Satisfy the Requirements of Rule 9(b).

        Claims asserted under the FCA are subject to the stricter pleading standards of Federal

 Rule of Civil Procedure 9(b) as they require fraud to be pleaded with a higher level of specificity.

 Clausen, 290 F.3d at 1308–09. Rule 9(b) is satisfied only if a relator adequately pleads the

 following:

        (1)     precisely what statements were made in what documents or oral
                representations or what omissions were made, and

        (2)     the time and place of each such statement and the person responsible for
                making (or, in the case of omissions, not making) same, and

        (3)     the context of such statements and the manner in which they mislead the
                plaintiff, and

        (4)     what the defendants obtained as a consequence of the fraud.

 United States ex rel. Carroll v. JFK Med. Ctr., No. 01–8158–CIV, 2002 WL 31941007, at *3 (S.D.

 Fla. Nov. 15, 2002) (dismissing qui tam complaint where, among other things, relator “fail[ed] to

 specify the dates when the fraudulent claims were made. Providing a six-year time span is not

 sufficiently particular to satisfy the Rule 9(b) particularity requirements.”). Because the “false

 claim” itself is the sine qua non of an FCA violation, dismissal is mandated even where a relator

 “provide[s] the ‘who,’ ‘what,’ ‘where,’ ‘when,’ and ‘how’ of improper practices, but he fail[s] to

 allege the ‘who,’ ‘what,’ ‘where,’ ‘when,’ and ‘how’ of fraudulent submissions to the

 government.” Corsello v. Lincare, Inc., 428 F.3d 1008, 1014 (11th Cir. 2005) (emphasis added).

 The same standards apply to claims under the Florida FCA. All Children’s Health Sys., Inc., 2013

 WL 1651811, at *5. “[T]he Eleventh Circuit has recognized that while these requirements of Rule

 9(b) may, in practice, make it difficult for a qui tam plaintiff to bring an action, they are necessary

 to prevent ‘[s]peculative suits against innocent actors for fraud’ and charges of guilt by




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 association.” United States ex rel. Keeler v. Eisai, Inc., 568 Fed. App’x 783, 793 (11th Cir. 2014)

 (quoting Clausen, 290 F.3d at 1308).

          Moreover, “[p]roceeding under the false certification theory … does not alleviate Relator’s

 obligation to plead [his] case with particularity.” All Children’s Health Sys., Inc., 2013 WL

 1651811, at *3. “Without specific allegations of fraudulent certification, billing, or referral,

 inferences would have to be drawn for this complaint to state a claim, but inferences about the

 submission of fraudulent claims would strip[ ] all meaning from Rule 9(b)’s requirements of

 specificity.” Id. at *4 n.3 (quoting Corsello, 428 F.3d at 1013 (internal quotation marks omitted)).

 Rule 9(b) equally applies to the allegations of conspiracy in Count II. Corsello, 428 F.3d at 1013-

 14. Similarly, Rule 9(b)’s requirements extend not just to allegations about the presentment of

 “false claims” themselves, but also to the underlying conduct which purportedly rendered them

 false.   “Underlying schemes and other wrongful activities that result in the submission of

 fraudulent claims are included in the ‘circumstances constituting fraud or mistake’ that must be

 pled with particularity pursuant to Rule 9(b).” Keeler, 568 Fed. App’x at 793 (quotation omitted).

          This requirement of specificity is especially critical in this case, where the Relator

 unleashes a barrage of general allegations regarding issues spanning fourteen years without ever

 specifying the particulars of the allegedly false claims. Given that most, if not all, of these

 allegations are based upon previously disclosed allegations, it becomes even more critical for

 Relator to state specifically what claims he is alleging are fraudulent and how he came to learn of

 such fraud. Without such specificity, Relator can potentially seek to avoid dismissal under the

 public disclosure bar. At the very minimum, such specificity is required to establish whether

 Relator is an original source. Stennett v. Premier Rehabilitation, LLC, 479 Fed. App’x 631, 633

 (5th Cir. 2012) (“Plaintiff's amended factual allegations fail to allege, with the specificity required




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 by Rule 9(b) of the Federal Rules of Civil Procedure, that Plaintiff is the ‘original source’ of the

 information forming the basis of the complaint or that any of the Defendants acted with the

 requisite scienter to establish a cause of action under the [FCA].”).

        As further described below, the Relator has failed to allege false claims with the

 particularity required, and the Complaint must be dismissed on that ground alone.

                1.      There are no sufficient allegations of any “false claim.”

        Among its deficiencies with respect to particularity, the Complaint fails to state a claim on

 which relief can be granted when measured against the Rule 9(b) standards that apply under the

 FCA.

        The “central question” in a claim brought under the False Claims Act is “whether
        the defendant ever presented a ‘false or fraudulent claim’ to the government.”
        Hopper v. Solvay Pharm., Inc., 588 F.3d 1318, 1326 (11th Cir. 2009) (quoting
        Clausen, 290 F.3d at 1311). “Without the presentment of such a claim, while the
        practices of an entity that provides services to the Government may be unwise or
        improper, there simply is not actionable damage to the public fisc as required under
        the False Claims Act.” Clausen, 290 F.3d at 1311. “The False Claims Act does not
        create liability merely for a health care provider’s disregard of Government
        regulations or improper internal policies unless, as a result of such acts, the provider
        knowingly asks the Government to pay amounts it does not owe.” Id. The
        submission of a false claim is the sine qua non of a False Claims Act violation. Id.

 All Children’s Health Sys., Inc., 2013 WL 1651811, at *2.

        The Complaint does not even come close to making this threshold allegation that any

 Defendant presented any claim on any date for any service. Thus, even if the allegations

 sufficiently alleged a violation of the Stark Act or the AKS, which they do not, the Complaint still

 “provides the Court with no factual allegations that Defendants made any claim or certification to

 the Government that was in fact tainted by referrals made pursuant to those allegedly unlawful

 compensation arrangements.” Schaengold v. Mem’l Health, Inc., No. 4:11–cv–58, 2014 WL




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 7272598, at *16 (S.D. Ga. Dec. 18, 2014).14 “The requirement of alleging the presentment of a

 false claim cannot be overcome by detailing other improper activity.” All Children’s Health Sys.,

 Inc., 2013 WL 1651811, at *1. The deficiency in allegations of “who” allegedly made these false

 claims is exacerbated by the Complaint’s shotgun allegations against all “Defendants,” without

 differentiation, and incorporation of all the background allegations into every count. The repeated

 use of the term “Defendants” without distinguishing among the multiple defendants is insufficient

 as a general matter of pleading, and is especially problematic here where Rule 9(b) requires

 particularity.15 This type of scattershot pleading is the precise reason that the FCA requires

 particularity in pleadings.

          Moreover, the Relator’s inadequate assertions of “false claims” — exemplified by the

 allegations in paragraphs 6 and 7 that “Defendants knowingly billed federal health care programs


 14
    See also Barys v. Vitas Healthcare Corp., 298 Fed. App’x 893, 896 (11th Cir. 2008) (“The amended complaint
 alleges that the structure of Vitas’ bonus system made it profitable to keep unqualified patients in the system. The
 compensation system provided cash bonuses to administrators who maintained high patient populations. However,
 without allegations of instances in which these administrators fraudulently re-certified patients under MHB, this
 assertion is insufficient to support an inference of fraud.”); Corsello, 428 F.3d at 1014 (“Corsello argues that a pattern
 of improper practices of the defendants leads to the inference that fraudulent claims were submitted to the government,
 but we disagree. Because it is the submission of a fraudulent claim that gives rise to liability under the False Claims
 Act, that submission must be pleaded with particularity and not inferred from the circumstances.… Although we
 construe all facts in favor of the plaintiff when reviewing a motion to dismiss, we decline to make inferences about
 the submission of fraudulent claims because such an assumption would strip all meaning from Rule 9(b)’s
 requirements of specificity.”) (quotation omitted); Clausen, 290 F.3d at 1312 (“[Relator] merely alleged that ‘these
 practices resulted in the submission of false claims for payment to the United States.’ No amounts of charges were
 identified. No actual dates were alleged. No policies about billing or even second-hand information about billing
 practices were described.”); United States ex rel. Mastej v. Health Mgmt. Assocs., Inc., 869 F. Supp. 2d 1336, 1341–
 42 (M.D. Fla. 2012) (dismissing qui tam complaint for failing to identify any false claims related to the scheme to
 overcompensate physicians or any false claims for reimbursement for patients who were referred by the allegedly
 overcompensated physicians); United States v. Aggarwal, No. 6:03-cv-117-Orl-31KRS, 2005 WL 6011259, at *6
 (M.D. Fla. Feb. 10, 2005) (“Even assuming that claims were filed, however, Plaintiff fails to allege the names of the
 patients in whose name claims were filed, claim numbers, the dates of such claims, to whom the claims were made,
 and what any of the Defendants received as a result. The fact that Plaintiff notes that this allegedly fraudulent practice
 ‘dat[es] back to January of 1998’ is not sufficient, as it provides no particularity from which the Defendants could be
 put on notice.”).
 15
    See Magluta v. Samples, 256 F.3d 1282, 1284 (11th Cir. 2001) (“The complaint is replete with allegations that ‘the
 defendants’ engaged in certain conduct, making no distinction among the fourteen defendants charged, though
 geographic and temporal realities make plain that all of the defendants could not have participated in every act
 complained of.”); Kabbaj v. Obama, 568 Fed. App’x 875, 880 (11th Cir. June 13, 2014) (finding improper shotgun
 pleading where “the complaint refers to the defendants collectively, making it impossible to identify which particular
 defendant engaged in what allegedly wrongful conduct”).


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 for claims which were tainted by violations of the AKS and the Stark Act and directly violated the

 FCA,” and that “[t]he amount overbilled to the federal health care programs could be at least $100

 million in damages per year” — precisely mirror the sorts of all-encompassing and conclusory

 allegations that have been found especially deficient. In All Children’s Health Systems, Inc., the

 court dismissed the qui tam complaint stating, “[a]t its essence, Relator’s theory is that every claim

 submitted by ACH since Defendants began aggressively recruiting and overpaying physicians is

 false because the compensation scheme violates the Stark Amendment and the Anti–Kickback

 Statute. Indeed, Relator characterizes her theory of liability as ‘an underlying statutory violation

 that taints all resulting claims.’” 2013 WL 1651811, at *1 (emphasis added). The instant

 Complaint, which advances the same general “tainted” claim theory, should be dismissed for the

 same reason.

          2.       There is no indicia of reliability about the Relator’s knowledge of claims.

          To be sure, “[i]n certain instances, relators are excused from identifying specific false

 claims, certifications, or referrals if the court can infer an ‘indicia of reliability’ from the relator’s

 position or circumstances.” All Children’s Health Sys., Inc., 2013 WL 1651811, at *2. For

 instance, reliability may be established where a relator works in the “very department where [the]

 alleged the fraudulent billing scheme occurred.” Id. (citing Hill v. Morehouse Med. Assocs., Inc.,

 82 Fed. App’x 213, 2003 WL 22019936 at *4 (11th Cir. 2003)). But the Relator in this case does

 not allege, nor could he, that he worked in the “very department” which prepared the allegedly

 fraudulent claims, and indeed does “not even work for the same company that is alleged to have

 presented the false claims.” All Children’s Health Sys., Inc., 2013 WL 1651811, at *2.16


 16
    See also United States ex rel. Sanchez v. Lymphatic, Inc., 596 F.3d 1300, 1303 (11th Cir. 2010) (“Despite her
 assertion that she had direct knowledge of the defendants’ billing and patient records, however, Sanchez failed to
 provide any specific details regarding either the dates on or the frequency with which the defendants submitted false
 claims, the amounts of those claims, or the patients whose treatment served as the basis for the claims. Without these


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          Rather than alleging facts supporting an indicia of reliability, the Relator asserts that the

 Complaint is “based upon information discovered through his work and through his own personal

 efforts, observations and investigations.” (Compl. ¶ 17.) The law is clear in this Circuit, however,

 that such “an assertion of personal knowledge cannot provide [relator’s] conclusory allegations

 with the indicia of reliability necessary to support a claim for fraud under Rule 9(b).” Barys v.

 Vitas Healthcare Corp., 298 Fed. App’x 893, 895 (11th Cir. 2008) (affirming dismissal). Even

 the allegations of corporate insiders are lacking where they can allege no basis of knowledge for

 the billing practices themselves.17 Indeed, in the few instances where the Relator attempts to allege

 some limited facts related to his knowledge of purportedly unlawful practices, for instance because

 he served as a medical director of HF Hospice sixteen years ago (that is, nine years beyond the

 statute of limitations period) (Compl. ¶ 112), those allegations are immaterial to his allegations of

 fraudulent billing.18 This is especially true here since claims made before March 2008 are not

 actionable at all.

          In short, under the well-settled law of this Circuit, the Relator has not come close to alleging

 “false claims” with the particularity required to survive dismissal under Rule 9(b).



 or similar details, Sanchez’s complaint lacks the ‘indicia of reliability’ necessary under Rule 9(b)....”); Mastej, 869 F.
 Supp. 2d at 1344 (finding allegations by a relator working in an executive position in the defendant corporation to
 lack indicia of reliability because the relator made “no allegations that he had any familiarity, through his various roles
 with the defendants and subsequent to his tenure with the defendants, with the billing practices of the defendants”).
 17
    Corsello, 428 F.3d at 1013–14 (“Although Corsello worked in sales, his allegations ... lacked the ‘indicia of
 reliability’ required by Clausen because they failed to provide an underlying basis for Corsello’s assertions.”); Britton
 v. Lincare, Inc., No. 2:13–cv–00742–SGC, 2015 WL 1487134, at *4 (N.D. Ala. Mar. 30, 2015) (dismissing complaint
 with prejudice after rejecting relator’s “speculative, conclusory allegations” that that “on information and belief” the
 defendant billed Medicare for patient services relator performed).
 18
    Clausen, 290 F.3d at 1312 (affirming dismissal of FCA complaint and stating “[i]n none of relator’s descriptions
 of alleged schemes by LabCorp to increase its testing and testing revenues—which are accompanied by dozens of
 pages of exhibits—does [relator] provide any factual basis for his conclusory statement tacked on to each allegation
 that bills were submitted to the Government as a result of these schemes…”); United States ex rel. Butler v. Magellan
 Health Servs., Inc., 101 F. Supp. 2d 1365, 1369 (M.D. Fla. 2000) (dismissing FCA complaint even where plaintiff
 “does plead a fraudulent scheme of conduct which may well be prohibited by law” but does not plead “any specific
 occurrences of a false claim”); All Children’s Health Sys., Inc., 2013 WL 1651811, at *1 (“The requirement of alleging
 the presentment of a false claim cannot be overcome by detailing other improper activity.”).



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        D.       Each of the different activities and theories alleged by the Complaint fails to
                 establish a claim on which relief can be granted under Rule 12(b)(6) for the
                 reasons above and others.

        A review of each of the activities alleged in the Complaint shows that they all must be

 dismissed based on the principles outlined above as well as for other reasons specific to each of

 the allegations. As noted above, “[u]nderlying schemes and other wrongful activities that result

 in the submission of fraudulent claims are included in the ‘circumstances constituting fraud or

 mistake’ that must be pled with particularity pursuant to Rule 9(b).” Keeler, 568 Fed. App’x at

 793 (quotation omitted). The allegations that Defendants violated the FCA based on underlying

 violations of the AKS, the Stark Act, or other legal requirements must be dismissed for the

 following reasons.

                 1.      Alleged FCA violations based on the Anti-Kickback Statute (“AKS”)
                         (Compl. ¶¶ 48-98)

        The Complaint alleges a series of activities which Relator contends violated the AKS. (¶¶

 48-98). “Generally speaking, the Anti-kickback statute prohibits a hospital from financially

 inducing a person to refer a Medicare patient.” Mastej, 591 Fed. App’x at 698 (citing 42 U.S.C. §

 1320a–7b(b)).     “[T]he Anti-kickback statute forbids knowingly ‘offer[ing] or pay[ing] any

 remuneration (including any kickback, bribe, or rebate) directly or indirectly, overtly or covertly,

 in cash or in kind to any person to induce such person ... to refer an individual [for medical services]

 for which payment may be made in whole or in part under a Federal health care program’ such as

 Medicare.” Id. (quoting 42 U.S.C. § 1320a–7b(b)(2)(A), and citing 42 U.S.C. § 1320a–7b(b)(3)

 (providing exceptions to this general rule)). “A violation of the Anti-kickback statute occurs when

 the defendant (1) knowingly and willfully, (2) pays money, directly or indirectly, to doctors, (3) to




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 induce the doctors to refer individuals to the defendants for the furnishing of medical services, (4)

 paid for by Medicare.” Id. (citing United States v. Vernon, 723 F.3d 1234, 1252 (11th Cir. 2013)).

                        a)      Allegations concerning MSDS (Compl. ¶¶ 48-61)

        The Complaint (¶¶ 48-61) attempts to allege an AKS violation related to an outpatient

 ambulatory surgical center called Melbourne Same Day Surgery, Inc. (“MSDS”), which is not

 named as a defendant. For a variety of reasons these allegations fail to state a claim. First, the

 allegations of false claims submitted more than six years ago are barred by the statute of

 limitations. See § III.A supra. Second, the allegations based on public disclosures from other

 sources are subject to the public disclosure bar. See § III.B.3(a) supra. Third, the allegations do

 not relate to false claims allegedly made by any of the Defendants. The Complaint itself alleges

 that the referrals which were purportedly being induced by offers of partnership interests were

 referrals to MSDS and not to any of the Defendants: “Larry Garrison, COO of Health First …

 expressed the understanding that any investor [in MSDS] would be required to refer all of his or

 her patients to the surgery center and nowhere else.” (Compl. ¶ 54.) MSDS is not a party to this

 action, and claims presented to the United States by MSDS, if any, are not the subject of this

 Complaint.

        In addition, although the Complaint alleges that investors paid for the investment interests,

 the Complaint does not allege that the payments were less than the fair market value of the

 investment interests or that any dividends or returns on the investment interests were unreasonable

 or excessive. Therefore, the Complaint fails to allege that the sale of the partnership interest

 constituted “remuneration” under the AKS. Furthermore, Relator does not allege that any of the

 Defendants paid the dividends. For all of these reasons, the Complaint fails to state a claim under

 the AKS.




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                        b)       Allegations concerning Melbourne GI Center (Compl. ¶¶ 62-67)

        The Complaint alleges (¶¶ 62-67) that Health First also used a joint venture, Melbourne GI

 Center (“MGIC”), to induce referrals from physicians. The allegations are essentially that

 physicians and practices who were not willing to exclusively refer patients for gastrointestinal

 (“GI”) procedures to MGIC were not offered shares in that ambulatory surgical center. First, the

 allegation involves the offering of shares in MGIC in 2002, far outside the statute of limitations.

 See § III.A, supra. And second, these claims have been publicly disclosed by other sources. See

 § III.B.3(a), supra. Therefore, there is no need for the Court to analyze the claims further. In any

 event, MGIC also is not a Defendant, and therefore there is no allegation of false claims by any

 Defendant based on the sale of the MGIC partnership interests.

        The allegations also do not satisfy the Rule 9(b) particularity requirements. For instance,

 there is no allegation as to which non-MIMA physicians were not permitted to purchase units

 because they refused to agree to refer their patients exclusively to MGIC. Nor are there any

 allegations as to the “who,” “what,” and “where” of physicians who supposedly did agree to do

 so, or how the Relator would know any of this information. Hopper, 588 F.3d at 1324.

                        c)       Allegations regarding medical directorships at Hospice of
                                 Health First (Compl. ¶¶ 68-73)

        The Complaint alleges kickbacks related to medical directorships of Hospice of Health

 First (¶¶ 68-73), but these allegations are imprecise in terms of the time frame and as to the

 identities of the patients referred to Hospice of Health First. Therefore, these allegations fail to

 meet the particularized pleadings requirements under Rule 9(b). The allegations also leave unclear

 which entity is alleged to have paid the stipends: is the Relator asserting that Health First, Inc. paid

 the stipends, or that HF Hospice or some other entity paid them? If the allegation is that HF

 Hospice paid the stipends, then there is no FCA violation alleged because HF Hospice is not a



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 Defendant. Paragraphs 72 and 73 allege that patients who were treated at Health First hospitals

 were steered to Hospice of Health First only, but these allegations likewise state no violation of

 the AKS.

                        d)      Allegations regarding Palm Bay Community Hospital (Compl.
                                ¶¶ 74-75)

        The Complaint alleges (¶¶ 74-75) that in 2002 Health First created an “Admitting Program”

 for MIMA internists to take call at Palm Bay Community Hospital, in order to encourage MIMA

 physicians to remain on the medical staff of that hospital. These allegations fail to state a claim

 because they do not allege that that the program existed after March 27, 2008, which would be the

 cut-off for the statute of limitations. See § III.A supra. Nor does the Complaint allege that these

 payments were in excess of fair market value for the call coverage services provided. Once again,

 these allegations fail to meet the requirements of Rule 9(b).

                        e)      Allegations regarding MIMA’s radiation therapy facility
                                (Compl. ¶¶ 76-78)

        The Complaint alleges (¶¶ 76-78) that in 2003 HFHP agreed to reimburse MIMA for

 services at MIMA’s radiation therapy facility, apparently on an exclusive basis. Again, there is no

 allegation that the practice continued beyond March 2008 so as not to be time-barred. See § III.A

 supra. The claim also fails under the public disclosure bar. See § III.B.3(a) supra. In addition,

 these allegations again fail to allege false claims with any particularity as required under Rule 9(b),

 by failing to allege what claims were presented by what Defendant and when, or how the Relator

 would have direct and independent knowledge of any such claims.

                        f)      Allegations that Health First provided extra services to MIMA
                                physicians (Compl. ¶¶ 79-81)

        The Complaint (¶¶ 79-81) alleges that from 2000 to 2013, HRMC provided MIMA

 physicians exclusive use of Health First-employed hospitalist physicians to relieve MIMA



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 physicians from taking unreimbursed phone calls from hospital nursing staff and from MIMA

 outpatients during evenings and weekends, and that HRMC provided hospitalists to admit MIMA

 patients during evenings and weekends. First, much of the alleged time frame is outside of the

 statute of limitations. See § III.A supra. And again, there are no particular allegations under Rule

 9(b) of false claims, as required, or of how the Relator would have direct and independent

 knowledge of any such false claims. Moreover, the Complaint fails to allege how HRMC’s

 employment of hospitalists constituted a violation of the AKS.

                            g)        Allegations concerning free blood products to induce referrals
                                      (Compl. ¶¶ 82-85)

          The Complaint alleges (¶¶ 82-85) that Health First provided free blood products to

 physicians. First, the allegation that this occurred “until approximately 2010” (Compl. ¶ 83) is

 contradicted by the more specific subsequent allegation that “Health First ceased supplying blood

 products at no cost effective January 1, 2008” (Compl. ¶ 119). Thus, the claim is time-barred and

 the Court need not analyze it further. See § III.A supra.19 Even beyond that problem, the Relator

 makes no adequate allegation of false claims submitted by any Defendants as required under Rule

 9(b).

          Furthermore, the decision by Health First to “cease supplying blood products at no cost”

 and to shut down the blood infusion program at HRMC was widely publicized. The Complaint

 admits that the legal opinion Health First received from outside counsel that the program violated

 state and federal law was “widely distributed” internally at Health First “with permission to

 distribute it freely.” (Compl. ¶ 84). The Complaint later recites in detail the public debate over the

 decision in December 2007, effective January 2008, to close the outpatient infusion center and to


 19
   Indeed, the allegation that a legal opinion that the provision of free blood products constituted a potential violation
 of the AKS was obtained and widely distributed by Health First (Compl. ¶ 84), is consistent with the allegation that
 Health First stopped supplying blood products at no charge in January 2008 (Compl. ¶¶ 116, 119).


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 cease the practice of supplying free blood products to physicians. (Compl. ¶¶ 116-125). Clearly,

 these facts upon which Relator bases his allegations were in the public domain years ago, and he

 is not an original source of such information. These allegations are subject to dismissal under the

 “public disclosure bar.”

                        h)      Allegations of other exclusive benefits to MIMA physicians
                                (Compl. ¶¶ 86-89)

        The Complaint (¶¶ 86-89) alleges that, dating back to 2004, HFHP provided MIMA

 physicians other “exclusive benefits,” such as allowing MIMA doctors to use MIMA’s radiation

 therapy facilities while refusing to reimburse other practices that used their own facilities (no date

 provided); contracting only with MIMA for cardiac catheterization services (between 2004 and

 2013); providing MIMA doctors with more opportunities to take call at HRMC (for which MIMA

 doctors were compensated) (no date provided); and appointing MIMA doctors as medical

 directors, “paying them exorbitant stipends for little or no work” (no date provided). This

 “grievance box” of complaints fails to provide the requisite specificity regarding which false

 claims were made, by whom, and when. Nor does the Complaint identify which referrals to which

 institution were “induced” by any alleged remuneration. Moreover, allowing MIMA to use

 MIMA’s own facilities and then reimbursing MIMA for use of such facilities is not a

 “remuneration” in cash or in kind, since there is no allegation that more than fair market value was

 paid. The Relator’s objection seems to be that his medical practice did not get the same treatment.

 However, these allegations fail to specify any basis upon which such exclusive arrangements

 violate the AKS or otherwise to state a claim for violation of the AKS. The Relator makes no

 allegation that physicians were paid more than fair market value for any services they rendered,

 but only that that he and other physicians did not receive the same opportunity to get paid to




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 provide such services. The AKS does not prohibit a health plan or a hospital from contracting

 with a particular physician or physician group and not contracting with another.

        Regarding the appointment of MIMA doctors as medical directors, the Relator asserts, only

 in a conclusory fashion, that they were paid “exorbitant stipends for little or no work.” But Relator

 fails to allege the amount of any such stipends, the basis upon which Relator asserts that the

 stipends were “exorbitant,” or any facts that would establish that Relator was in a position to have

 direct and independent knowledge of the amount of such stipends or the services rendered in return

 for such stipends. Finally, the allegations in Paragraph 89 must be dismissed under the public

 disclosure bar. See § III.B.3.(a) supra.


                        i)      Allegations that Health First acquired MIMA for more than fair
                                market value (Compl. ¶¶ 90-96)

        The Complaint alleges (¶¶ 90-96) that Health First made excessive payments to MIMA

 physicians for the purchase of the MIMA group practice in 2013. Again, however, there are no

 particularized allegations of false claims that were made. Nor does the Relator provide facts to

 show how he had independent knowledge of such claims or of the alleged purchase price. In

 addition, substantially similar allegations regarding the purchase by Health First of other physician

 practices to ensure exclusive referrals have been made in prior complaints by other sources, and

 these claims should be barred on that basis alone. See § III.A supra.

                        j)      Allegations that Health First sells “Geographic Exclusivity” to
                                certain physician subspecialty groups (Compl. ¶¶ 97-98)

        The legal theory underlying paragraphs 97 and 98 is particularly unclear. The two

 physician practices in question allegedly overpaid Health First for space leased from Health First

 in exchange for patient referrals from the hospitals. Allegations regarding Health First’s unlawful

 use of restrictive covenants in Viera have been previously publicly disclosed by other sources, and



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 these claims are therefore barred. See § III.B.3(a) supra. The allegation in Paragraph 97 also

 relies on a contract entered into in 2007 or earlier, which is barred under the statute of limitations.

 See § III.A supra. In addition to those problems, there is no allegation of what the false claims

 were or who made the alleged false claims. The allegations also do not identify any specific

 physicians or physician groups that leased space and do not identify any specific leases or the dates

 they were entered into, and they certainly do not allege that any of Defendants presented false

 claims.

                  2.      Alleged FCA violations based on the Stark Act (Compl. ¶¶ 99-104)

           The only alleged violations of the Stark Act against any of the Defendants are asserted in

 paragraphs 99 to 104. First, these involve predominantly the same allegations as Sections A.1 and

 A.2 and are barred or limited by the statute of limitations. See § III.A supra. Likewise, these

 claims must be dismissed under the public disclosure bar. See § III.B.3(a) supra. Moreover, these

 paragraphs fail to describe any unlawful conduct and should be dismissed under Rule 9(b) and

 Rule 12(b)(6). To the extent that any other allegations of the Complaint are intended to suggest a

 violation of the Stark Act, they too fail to state a claim.

           These paragraphs allege violations of the Stark Act consisting of what Relator calls

 “referrals” from HFHP or MIMA to MSDS or MGIC. But in none of these allegations does the

 Relator identify any referral by a specific physician, any referral for designated health services

 (“DHS”), or any claim submitted by any of the Defendants for designated health services rendered

 as a result of a prohibited referral.

           In these paragraphs, the Relator’s allegations exhibit a profound and fundamental lack of

 understanding of the Stark Act and its implementing regulations. First, the Stark Act prohibits a

 physician (not an entity) who has a direct or indirect financial relationship with an entity from




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 making referrals to that entity, unless an exception applies. See 42 CFR § 411.353(a). Contrary

 to the Complaint’s allegations, the Stark Act does not prohibit any of the alleged “referrals” from

 any of the named Defendants because they are not “physicians.” Second, the referrals that the

 Stark Act prohibits (if a “financial relationship” exists and no exception applies) are referrals by a

 physician to an entity for the furnishing of one of a limited number of designated health services

 for which payment may otherwise be made under Medicare (not “any” item or service). Id.

 (emphasis added). “Designated health services” are defined at 42 CFR § 411.350. See also 42

 U.S.C. § 1395nn(h)(6); 42 CFR § 411.351.20 Nowhere in the Complaint does Relator allege that

 any referrals were made for furnishing any “designated health services.” For example, hospice

 services are not included in the definition of “designated health services.” Neither MSDS nor

 MGIC are defendants in this case. But even if they were, the Complaint does not allege that either

 MSDS or MGIC provided any “designated health services.” Accordingly, none of the alleged

 referrals to MSDS or MGIC, nor any referrals to Health First Hospice, violated the Stark Act

 because they were not for “designated health services.” Further, nowhere in the Complaint does

 Relator allege facts that are sufficient to establish the existence of a prohibited “financial

 relationship” (as that term is defined in the Stark Act and its implementing regulations) between

 any physician and any Defendant.

         Moreover, the Counts asserting FCA claims on the basis of the Stark Act (Counts III and

 V) allege claims against all the “Defendants” in this case, but HFHP and MIMA are the only




 20
    “The term ‘designated health services’ means any of the following items or services: (A) Clinical laboratory
 services. (B) Physical therapy services. (C) Occupational therapy services. (D) Radiology services, including
 magnetic resonance imaging, computerized axial tomography scans, and ultrasound services. (E) Radiation therapy
 services and supplies. (F) Durable medical equipment and supplies. (G) Parenteral and enteral nutrients, equipment,
 and supplies. (H) Prosthetics, orthotics, and prosthetic devices and supplies. (I) Home health services. (J)
 Outpatient prescription drugs. (K) Inpatient and outpatient hospital services. (L) Outpatient speech-language
 pathology services.” 42 U.S.C. § 1395nn(h)(6)


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 Defendants named in the specific Stark-related allegations in those counts, Counts III and V.

 Therefore, the allegations of those two counts must be dismissed as to the other defendants.

          The Complaint also alleges (¶¶ 100-101) that HFHP’s statement in 200621 that it would not

 contract with Sheridan Surgery Center violated 42 U.S.C. § 1395a by denying patient freedom of

 choice. But Section 1395a — the “freedom of choice provision”22 — only “bars interference by

 the Secretary of Health and Human Services (or his subordinates in the administration of the

 Medicare program) with a beneficiary's selection of a physician.” MacArthur v. San Juan Cnty.,

 416 F. Supp. 2d 1098, 1141-42 (D. Utah 2005).                      It simply does not apply to any of the

 Defendants.23 As in MacArthur, the argument must be rejected because nothing in the Complaint

 “suggests that the Secretary, Medicare program officials — or anyone else involved in HHS

 administration of Medicare benefits — attempted to interfere with [a patient’s] choice of health

 care providers from among those qualified to participate in the Medicare program.” 416 F. Supp.

 2d at 1141-42.


                   3.       Alleged FCA violations outside of the Stark Act and the AKS (Compl.
                            ¶¶ 105-107)

          Paragraphs 105 to 127 do not allege violations of either the Stark Act or the AKS, but rather

 purport to allege that “Health First knowingly and directly presented false claims to the

 government.” There is no specific allegation, however, that Health First directly submitted any

 claims to the government, and therefore these claims must fail entirely on that basis alone. The

 allegations in these paragraphs also are time-barred as they all occurred well prior to March 27,


 21
    The statement was allegedly made on March 9, 2006, which is two years outside the statute of limitations period.
 22
    “This statute, the so-called Medicare ‘freedom of choice provision,’ reflects one of the fundamental principles upon
 which the Medicare program was founded, and guarantees Medicare beneficiaries the freedom to choose health care
 providers, who would then be paid by Medicare at the program's prescribed rates.” MacArthur v. San Juan Cnty., 416
 F. Supp. 2d 1098, 1141-42 (D. Utah 2005).
 23
    Moreover, there is no private right of action under 42 U.S.C. § 1395a. Mays v. Hosp. Auth., 582 F. Supp. 425, 430–
 31 (N.D. Ga. 1984).


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 2008. Furthermore, all of these claims are based on facts which were clearly disclosed to the public

 at large, as the allegations themselves make evident. The Relator cannot be an original source of

 this information, and therefore these allegations are subject to dismissal under the public disclosure

 bar as well.

                a)      Allegations concerning PET scans (Compl. ¶¶ 105-111) do not state a
                        claim on which relief can be granted

        The Complaint (¶¶ 105-111) alleges that HRMC improperly discharged inpatients needing

 PET scans so that the patients could receive the PET scans as outpatients, and that this was done

 to increase the hospital’s profits. (Compl. ¶¶ 106-109.) This claim must be dismissed, however,

 because the allegation that “upon information and belief, these PET scans were billed to, and paid

 by, government insurance programs” (Compl. ¶ 111) plainly fails under Rule 9(b). See, e.g.,

 Britton v. Lincare, Inc., No. 2:13–cv–00742–SGC, 2015 WL 1487134, at *4 (N.D. Ala. Mar. 30,

 2015) (dismissing complaint with prejudice and stating that “[i]n fact, Britton does not even

 affirmatively allege Lincare actually submitted a false or fraudulent claim for Medicare or

 Medicaid reimbursement. Rather, he alleges ‘[u]pon information and belief,’ Lincare bills

 Medicare for patient education services he performs, and ‘[t]o the extent’ Lincare bills Medicaid

 for patient education, he performs those services…. These speculative, conclusory allegations are

 plainly insufficient to state a claim against Lincare pursuant to § 3729(a)(1) (1994)) (citing

 Corsello, 428 F.3d at 1013–14 (relator’s allegations, “often based ‘on information and belief,’

 “lacked indicia of reliability because they failed to provide underlying basis for relator's

 assertions)); Clausen, 290 F.3d at 1311 (allegations a false or fraudulent claim “must have been




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 submitted, were likely submitted or should have been submitted to the Government” fail to satisfy

 Rule 9(b)).

                     b)      Allegations concerning Hospice patients (Compl. ¶¶ 112-115) do not
                             state a claim on which relief can be granted

            Relator alleges (¶¶ 112-115) that Health First received a capitated daily rate from Medicare

 for services provided to patients of Health First Hospice, but temporarily dis-enrolls those patients

 from its Hospice when they need in-hospital care in order to bill Medicare on a fee-for-service

 basis for services like radiation or palliative chemotherapy rather than deducting them from the

 amount allotted for hospice care. (Compl. ¶¶ 113-114.) Again, there is no particular allegation of

 “false claims” being submitted, but rather only an allegation that accurate claims were submitted,

 i.e., claims for inpatient services having been rendered which in fact were rendered. Nor is there

 any date provided relating to these allegations other than 1999, well outside the statute of

 limitations.

            The Relator also contends that these alleged practices of HF Hospice violate “Medical rules

 for the hospice industry as defined in the Federal Register Vol. 64 No. 192 Oct. 5, 1999 pp. 54031-

 54049.” (Compl. ¶ 115.)             The cited Federal Register notice (the “Notice”), however, merely

 “promote[s] voluntarily developed and implemented compliance programs” for hospices and thus

 provides “a set of guidelines to be considered by a hospice interested in implementing a

 compliance program.” 64 Fed. Reg. at 54032.24 Among these, the Department of Health and

 Human Services recommends that “[t]o satisfy the applicable Medicare conditions of participation

 in the nursing home context, hospices should implement [certain] policies and procedures.” Id. at

 54039. “The success of a false certification claim depends on whether it is based on ‘conditions

 of participation’ in the Medicare program (which do not support an FCA claim) or on ‘conditions


 24
      This provision is available electronically at http://www.gpo.gov/fdsys/pkg/FR-1999-10-05/pdf/99-25787.pdf.


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 of payment’ from Medicare funds (which do support FCA claims).” United States ex rel. Hobbs

 v. MedQuest Assocs., Inc., 711 F.3d 707, 714 (6th Cir. 2013). Thus, various Medicare rules that

 do not expressly state that an item is a “condition for payment” cannot form the basis of an FCA

 claim. United States ex rel. Bierman v. Orthofix Intern., N.V., No. 05–10557–RWZ, 2015 WL

 4197551, at *8 (D. Mass. July 1, 2015). Far from being either an actionable “condition of

 payment” or a non-actionable “condition of participation,” the set of guidelines alleged by Relator

 is merely a recommendation for voluntary practices that might improve compliance with

 “conditions of participation.” 64 Fed. Reg. at 54039. Contrary to the Complaint’s assertions,

 “[t]he False Claims Act is not a vehicle to police technical compliance with complex federal

 regulations,” MedQuest Assocs., Inc., 711 F.3d at 717, much less a vehicle to assign liability for

 alleged failure to comply with a federal agency’s “recommendations and guidelines” where the

 agency expressly states that their “applicability … depends on the circumstances of each particular

 hospice.” 64 Fed. Reg. at 54032.

                c)     Allegations concerning required blood transfusions (Compl. ¶¶ 116-
                       125) do not state a claim on which relief can be granted

        The Complaint alleges (¶¶ 116-125) that Health First improperly required patients to

 receive blood transfusions as inpatients. As noted above, the Complaint specifically alleges (¶¶

 116-119) that Health First ceased providing free blood products as of January 1, 2008 (not 2010

 as alleged in Compl. ¶ 83), and began charging physicians for blood. But here, the Complaint now

 claims that Health First charged “exorbitant” rates for blood, which “disincentivized” physicians

 from providing blood services themselves. (Compl. ¶¶ 116-17.) The Complaint also alleges that

 HRMC’s outpatient infusion center was closed in conjunction with the opening of an outpatient

 transfusion center at Palm Bay Hospital, but that the Palm Bay transfusion center was 25 miles

 away and therefore less convenient to the patients in HRMC’s area, and which was staffed three



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 days a week. (Compl. ¶ 118.) As such, the Complaint alleges that there was only one alternative:

 referring patients for transfusions to “Health First hospitals” (though that would include Palm Bay

 Hospital). Thus, the Complaint essentially alleges that Health First should have made the blood

 cheaper (even though paragraph 84 of the Complaint goes to great lengths to assert that it must be

 charged at fair market value), but that since the blood was not priced at the rate Medicare would

 reimburse and because the Palm Bay facility was 25 miles away, patients were forced to be

 admitted to HRMC for transfusions. This allegedly resulted in “patients being charged more for

 blood and/or the administration of blood products than they otherwise would have been charged,”

 (Compl. ¶ 121). But there is no allegation that the claims presented for such services or such

 products were false, nor is there any supportable allegation that Health First was legally obligated

 to open and maintain two outpatient transfusion centers, charge less for the blood, or take any of

 the other steps Relator argues would have been better. If Health First was overcharging for blood

 products, certainly less expensive alternatives would have emerged. And if the prices Health First

 charged for blood were unlawful, why has no one else complained? The prices are not secret. The

 Relator is attempting to turn the FCA into an all-purpose act to cure what he deems to be

 competitive disadvantages.

        Furthermore, as noted above, the Complaint recites in detail the widespread public debate

 over the decision to close the outpatient infusion center at HRMC and cease providing free blood.

 (¶¶ 119-123.) Thus, the facts upon which any allegations of false claims were publicly disclosed

 and the Relator is not an original source of such information. These allegations are barred.

                d)      Allegations regarding quality assessment and reporting issues (Compl.
                        ¶¶ 126-133) do not state a claim on which relief can be granted

        The Complaint alleges (¶¶ 126-133) that Health First, HRMC and HFHP are violating the

 FCA by “wrongfully bill[ing] federal health care programs for a level of care that fails to meet



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 federal and state standards.” (Compl. ¶126.) Paragraph 126 specifically alleges that the legal

 requirements at issue, including 42 CFR §§ 482.11 and 482.21,25 are “conditions of participation”

 in the Medicare program rather than “conditions of payment.” (¶126.)26 Again, “conditions of

 participation” cannot form the basis of FCA claims. United States v. Amin Radiology, No. 5:10–

 cv–583–Oc–PRL, 2015 WL 403221, at *9 (M.D. Fla. Jan. 28, 2015) (collecting cases); see also

 MedQuest Assocs., Inc., 711 F.3d at 714, 717.27 This is also consistent with the general principle

 that “[t]he False Claims Act does not create liability merely for a health care provider’s disregard

 of Government regulations or improper internal policies unless, as a result of such acts, the

 provider knowingly asks the Government to pay amounts it does not owe.” All Children’s Health

 Sys., Inc., 2013 WL 1651811, at *2 (quoting Clausen, 290 F.3d at 1311). In addition, these

 regulations apply on their face only to hospitals, and therefore do not apply to HFHP. Finally, in

 most of the allegations in paragraph 127 there are no specifics as to the “who,” “when,” “where”

 and “how” required under Rule 9(b), although certain of the allegations make clear that they arose




 25
    42 CFR § 482.11 provides that as a condition of participation for federal funding, “(a) The hospital must be in
 compliance with applicable Federal laws related to the health and safety of patients. (b) The hospital must be— (1)
 Licensed; or (2) Approved as meeting standards for licensing established by the agency of the State or locality
 responsible for licensing hospitals. (c) The hospital must assure that personnel are licensed or meet other applicable
 standards that are required by State or local laws.” 42 CFR § 482.21 requires that as a condition of participation for
 federal funding a hospital implement and maintain a quality improvement program.
 26
    Compare paragraphs 39 and 46, in which the Complaint alleges that compliance with the Stark Act and AKS are
 “conditions of payment.”
 27
    The court in Amin Radiology further noted that “[t]he only way to accept [relator’s] theory of the case is ‘by weaving
 together isolated phrases from several sections in the complex scheme of Medicare regulations’ as well as portions of
 Florida statutes…. As the Sixth Circuit succinctly stated ‘[t]his cut-and-paste approach is not supported by the
 structure of the regulatory scheme, and it is not reasonable to expect Medicare [Medicaid, or Tricare] providers to
 attempt such an approach to statutory interpretation in their efforts to comply with the FCA.’” 2015 WL 403221, at
 *9 (quoting Medquest Assocs., Inc., 711 F.3d at 714.)


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 well prior to March 27, 2008. Nor does the Relator plead specific facts to establish how he could

 be an original source of these allegations.

                4.       Allegations also lack specificity needed for “conspiracy” claim

        In addition to all of the other reasons cited above, Count II’s claim under 31 U.S.C. §

 3729(a)(1)(C) must fail due to inadequate allegations of the purported “conspiracy.” The elements

 of an FCA conspiracy claim are that “(1) that the defendant conspired with one or more persons to

 get a false or fraudulent claim paid by the United States; (2) that one or more of the conspirators

 performed any act to effect the object of the conspiracy; and (3) that the United States suffered

 damages as a result of the false or fraudulent claim.” Corsello, 428 F.3d at 1013–14. Rule 9(b)

 also applies to the allegations of conspiracy. Id. There are no allegations of a conspiracy other

 than that “Defendants, acting in concert, conspired to knowingly present or cause to be presented,

 false or fraudulent claims to the United States for payment or approval.” (Compl. ¶ 136.) This

 “bare legal conclusion is unsupported by specific allegations of any agreement or overt act,” and

 requires dismissal of any conspiracy claim. Corsello, 428 F.3d at 1013–14 (dismissing claim based

 on allegation that two parties “conspired to defraud the Government”).

                                               CONCLUSION

        For the foregoing reasons, the Defendants respectfully request that this Court dismiss the

 Complaint in its entirety with prejudice.

        Respectfully submitted this 10th day of August, 2015.

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 10, 2015, I electronically filed the foregoing with the Clerk
 of the Court by using the CM/ECF system, which will send a notice of electronic filing to the
 counsel of record.


                                                      /s/ Jerome W. Hoffman
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